Case 2:03-cv-02674-BBD-dkv Document 80 Filed 04/21/05 Page 1 of 2 Page|D 72

IN THE uNITED sTATEs DIsTRIcT couRT FoR THE?"““';""

WESTERN DISTRICT OF TENNESSEE, WESTERN DIVISE(§I!PR 2; PH d um

 

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AR . "‘» ` Jli. . \.; .
MICHAEL CURSEY and M Y L HUGHES § \§.L§h§'? qf§ §;MMPH;{S
P|aintiffs, )
) No. 03-2674 D/V
V5. )
)
FICKRY RAPHAEL, UMA GROUP, LTD. ) JURY DEMANDED
d/b/a/ CONSULTANTS UMA, SIMON )

PRoPERTY GROUP, L.P., RALEIGH sPRINGs, )
LLc, and sEARs, RoEBuci< and coMPANY, )

)
Defendants. )

 

ORDER GRANTING JOINT MOTION FOR EXTENSION OF DEADLINES

 

This matter is before the Court on the Parties’ Joint Motion to extend the
discovery deadline and the deadline for the filing of dispositive motions. Upon

consideration of the parties’ Motion and for good cause shown:

It is therefore, ORDERED, DECREED, and ADJUDGED that the deadline for all
written discovery and depositions be extended sixty (60) days, up to and including June
15, 2005, and the deadline for the filing of dispositive motions be extended forty-five

(45) days, up to and including Ju|y 1, 2005.

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UNITED STATEs DIS=FHe'T-Gounl JuDGE
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with Hula 58 and/or 79(a) FHCP on 45"£¢2’05_ EO

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
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Honorable Bernice Donald
US DISTRICT COURT

